           Case 3:18-cv-00787-KAD Document 64-2 Filed 12/10/19 Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF CONNECTICUT

    UNITED STATES OF AMERICA,                           )
                                                        )
               Plaintiff,                               )   Case No. 3:18-cv-787-KAD
                                                        )
               v.                                       )
                                                        )
    ZVI KAUFMAN,                                        )
                                                        )
               Defendant.                               )

    PLAINTIFF UNITED STATES’ MEMORANDUM IN SUPPORT OF ITS MOTION
                       FOR SUMMARY JUDGMENT

          Plaintiff United States of America hereby provides the following memorandum of

law in support of its motion for summary judgment.

                                           Introduction

          Each year, United States citizens who hold a financial account in a foreign country are

required to report the account to the Treasury Department. See 31 U.S.C. § 5314; 31 C.F.R.

§ 103.24 (2009); 31 C.F.R. § 1010.350 (2011).1 It is not illegal to hold a foreign account, but

failing to report it can lead to a civil penalty. The form on which the report is made is the Report

of Foreign Bank and Financial Account, often referred to as an “FBAR,” and the civil penalty for

failing to file it is known as an “FBAR penalty.” Unless the failure to report the account is willful,

the amount of the penalty is capped at $10,000 per account per year.

          In 2008 through 2010, Defendant Zvi Kaufman held financial accounts in Israel. However,

he did not file any FBARs until 2012. The IRS assessed civil FBAR penalties against him for

each account he failed to timely report for each of those three years (2008, 2009, and 2010).



1
    For the years at issue, the report was to be filed by June 30 of the following year.


                                                    1
           Case 3:18-cv-00787-KAD Document 64-2 Filed 12/10/19 Page 2 of 5




                                             Argument

      a. Statutory and Regulatory Framework for the FBAR Penalty.

          United States citizens are required to keep records, file reports, or both, when the citizen

“maintains a relation . . . with a foreign financial agency.” 31 U.S.C. § 5314(a). To implement

this statutory mandate, the Secretary of the Treasury (“Secretary”) has published regulations

requiring any United States citizen “having a financial interest in, or signature or other authority

over, a bank, securities or other financial account in a foreign country” to report annually certain

details about the account to the Treasury Department. 31 C.F.R. § 103.24 (2009); 31 C.F.R.

§ 1010.350 (2011). The report must be made each year by filing a form with the Treasury

Department, which for the 2008 through 2010 reporting years was due no later than June 30 of

the following year. See 31 C.F.R. § 103.27(c), (d), (e) (2009); 31 C.F.R. § 1010.306(c) (2011).2

           To enforce the reporting requirements, the Secretary is authorized to impose a civil

    FBAR penalty on any person who does not comply with the requirement to report a foreign

    account. See 31 U.S.C. § 5321(a)(5)(A). The Secretary has delegated assessment authority to

    the IRS. See 31 C.F.R. § 103.56(g) (2009); also 31 C.F.R. § 1010.810(g) (2011).         Except

    where the violation is willful, the amount of the penalty is capped at $10,000 per account per



2
  The FBAR reporting statutes and regulations arise from the Currency and Foreign Transactions
Reporting Act, also known as the Bank Secrecy Act (“BSA”), which was enacted to ensure that
citizens meet the requirement to pay taxes on income earned abroad and “to detect and prosecute
criminal activity.” See Pub. L. 91-508, 84 Stat. 1114 (1970) (31 U.S.C. §§ 5311 et seq.); also
H.R. Rep. No. 91-975 (1970), reprinted in 1970 U.S.C.C.A.N. 4394, 4395, 4397 (stating that
the BSA was enacted to deal with major issues in law enforcement, one of which was the use of
secret foreign bank accounts to evade taxes); United States v. Simonelli, 614 F.Supp.2d 241, 241
(D. Conn. 2008) (quoting 31 U.S.C. § 5311). Note that United States citizens are subject to taxes
on their income, regardless of where it is earned. See 26 U.S.C. § 61(a); 26 C.F.R. § 1.1-1(b). In
enacting the BSA, Congress recognized that citizens’ use of undisclosed foreign accounts caused
significant federal tax losses as well as a gaping disparity in the enforcement of the internal
revenue laws. See 1970 U.S.C.C.A.N. at 4397-98 (observing that “[s]ecret foreign financial
facilities” offered the wealthy a “grossly unfair” but “convenient avenue of tax evasion”).


                                                     2
         Case 3:18-cv-00787-KAD Document 64-2 Filed 12/10/19 Page 3 of 5




 year. See 31 U.S.C. § 5321(a)(5)(B)(i), (C); United States v. Boyd, No. CV 18-803-MWF, 2019

 WL 1976472, at *3-5 (C.D. Cal. Apr. 23, 2019) (holding that a $10,000 penalty can be assessed

 for each unreported foreign account).

        b. Mr. Kaufman is Liable for Non-Willful FBAR Penalties for 2008, 2009, and 2010.

        To show that a person is liable for a “non-willful” FBAR penalty, the United
  States must prove five elements:

          (1) The person is a U.S. person, i.e., “subject to the jurisdiction of the United States,”
              during the reporting period;

          (2) The person must have had “a financial interest in, or signature or other
              authority over, a bank, securities or other financial account;”

          (3) The account must have been located in a foreign country;

          (4) The balance in the account (or aggregate balance of more than one account) must
              have exceeded $10,000 at some point during the reporting period; and,

          (5) The person must have failed to report the account as required.

  See United States v. McBride, 908 F. Supp. 2d 1186, 1201 (D. Utah 2012) (noting seven

  elements in willful-penalty case, including willfulness of person’s conduct and whether “the

  amounts of the penalties were proper”); also 31 C.F.R. § 103.24(a) (2009). After applying

  these five elements to the facts of this case, the Court should enter judgment against

  Mr. Kaufman for the non-willful FBAR penalties that the IRS assessed against him.

        First, Mr. Kaufman is a United States citizen. See Statement of Material Facts (hereinafter

referred to as “SOF”) at ¶ 1.

        Second, Mr. Kaufman had signature or other financial authority over a number of

financial accounts with a number of financial institutions during 2007, 2008, and 2009. See

SOF at ¶ 2-5.



                                                   3
        Case 3:18-cv-00787-KAD Document 64-2 Filed 12/10/19 Page 4 of 5




       Third, Mr. Kaufman’s financial accounts were located in Israel. Id.

       Fourth, the balances of the foreign financial accounts in 2008, 2009, and 2010

exceeded $10,000 in each of those years. See id. at ¶ 3-5.

       Fifth, Mr. Kaufman did not timely file FBARs for 2008, 2009, and 2010, to report his

foreign financial accounts, i.e., he did not file his 2008 FBAR by June 30, 2008; his 2009 FBAR

by June 30, 2010; or his 2010 FBAR by June 30, 2011. Id. at ¶ 4.

       For failing to timely report his foreign accounts, Mr. Kaufman is subject to a penalty of up

to $10,000 per account per year. See 31 U.S.C. § 5321(a)(5)(B)(i), (C); Boyd, 2019 WL 1976472,

at *3-5. The IRS, after considering the mitigation factors set forth in the Internal Revenue

Manual, assessed against Mr. Kaufman a penalty of $42,249 for failing to report 13 accounts at

11 financial institutions in 2008; a penalty of $42,287 for failing to report 12 accounts at 10

financial institutions in 2009; and a penalty of $59,708 for failing to report 17 accounts at 14

financial institutions in 2010. See SOF at ¶ 7.

       Mr. Kaufman has made no payments towards the penalties assessed against him. See

Plaintiff’s Exhibit (“P. Ex.”) E, F (showing that the balance remaining on the principal amount of

the FBAR penalty assessments is the same as the original amount of the assessments).

Mr. Kaufman is thus liable for the full amount of the assessed penalties. In addition, interest,

pursuant to 31 U.S.C. § 3717(a)(1), and delinquency penalties, pursuant to 31 U.S.C.

§ 3717(e)(2), have accrued and continue to accrue on Mr. Kaufman’s liabilities.3 P. Ex. F.

       As of December 6, 2019, Mr. Kaufman is liable to the IRS in the total amount of




3
 The Treasury Department is also entitled to assess costs related to processing and handling
FBAR penalty debts, pursuant to 31 U.S.C. § 3717(e)(1), though no such costs have been
assessed against Mr. Kaufman. P. Ex. F.


                                                  4
        Case 3:18-cv-00787-KAD Document 64-2 Filed 12/10/19 Page 5 of 5




$186,679.40, plus statutory interest and additions that continue to accrue from and after

December 6, 2019. See SOF at ¶ 8.

                                           Conclusion

       For the foregoing reasons, the Court should grant the United States’ motion for summary

judgment against Mr. Kaufman, and enter judgment against him in the amount of $186,679.40,

plus interest and statutory additions from and after December 6, 2019.

                                                     Respectfully submitted,

                                                     RICHARD E. ZUCKERMAN
                                                     Principal Deputy Assistant Attorney General

                                                     /s/ Bradley A. Sarnell
                                                     BRADLEY A. SARNELL
                                                     Trial Attorney, Tax Division
                                                     U.S. Department of Justice
                                                     P.O. Box 55
                                                     Washington, D.C. 20044
                                                     202-307-1038 (v)
                                                     202-514-5238 (f)
                                                     Bradley.A.Sarnell@usdoj.gov




                                                5
